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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )                4:08CR3178
                                     )
           v.                        )
                                     )
RASDANIEL ELIJAH ROLLIE,             )                   ORDER
                                     )
                Defendant.           )
                                     )


     IT IS ORDERED:

     Plaintiff’s motion for extension of deadline, filing no. 17,
is granted and the deadline for conducting discovery is extended
to January 15, 2009.


     DATED this 8th day of January, 2009.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
